                                THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                        ASHEVILLE DIVISION
                              CRIMINAL CASE NO. 1:08-cr-00128-5-MR-DLH


               UNITED STATES OF AMERICA,        )
                                                )
                    vs.                         )                     ORDER
                                                )
               BRIAN CASH.                      )
               ________________________________ )

                        THIS MATTER is before the Court pursuant to 18 United States Code

               § 3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 782 (Nov. 1, 2014).

                        The Defendant has filed a motion for a reduction of his sentence [Doc.

               627]. The Probation Office has submitted a supplement to the Defendant’s

               Presentence Report (“PSR”) in this matter [Doc. 648]. Based thereon, the

               Court determines that the United States Attorney should provide the Court

               with its respective position regarding the PSR supplement.

                        IT IS, THEREFORE, ORDERED that no later than thirty (30) days from

               the entry of this Order, the United States Attorney shall file its pleading

               responsive to the Probation Officer’s PSR supplement filed in this matter.

                        IT IS SO ORDERED.
Signed: April 8, 2015




                    Case 1:08-cr-00128-MR-WCM     Document 651   Filed 04/08/15   Page 1 of 1
